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                         IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

                                    PORTLAND DIVISION


 TAYLOR SHEET METAL, INC.,                          No. 3:17-cv-00753-SB

                Plaintiff,

        vs.                                         NOTICE OF APPEAL

INTERNATIONAL ASSOCIATION OF
SHEET METAL, AIR, RAIL AND
TRANSPORTATION WORKERS UNION,
LOCAL NO. 16,

                Defendant.




                                                1
NOTICE OF APPEAL                                                    No. 3:17-cv-00753-SB
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       Notice is hereby given that International Association of Sheet Metal, Air, Rail, and

Transportation Workers Union, Local No. 16 in the above named case hereby appeal to the

United States Court of Appeals for the Ninth Circuit from the final judgment that was entered in

this action on February 12, 2018.

Dated this 7th day of March, 2018.                   Respectfully submitted,



                                                    ___/s/David L. Barber______________
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                                                    David L. Barber
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NOTICE OF APPEAL                                                   No. 3:17-cv-00753-SB
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                  REPRESENTATION STATEMENT – SERVICE LIST


                                United States District Court
                                For The District of Oregon

                                Civil No.: 3:17-cv-00753-SB


Appellant – Defendant                            Attorneys for Appellant – Defendant
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                       REPRESENTATION STATEMENT – SERVICE LIST
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                              CERTIFICATE OF SERVICE

       I hereby certify that on the 7th day of March, I served the foregoing NOTICE OF

APPEAL on the following persons:

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Via the ECF filing system.



                                                  _/s/Katherine Maddux_____
                                                     Katherine Maddux




CERTIFICATE OF SERVICE                                               Case No: 3:17-00753-SB
